 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 1 of 22 PageID #: 829



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 KROY IP HOLDINGS, LLC,                      )
                                             )
                       Plaintiff,            )
                                             )
              v.                             )   C.A. No. 17-1405 (MN)
                                             )
 GROUPON INC.,                               )
                                             )
                       Defendant.            )

                                    MEMORANDUM OPINION

David E. Moore, Bindu A. Palapura, Stephanie E. 0 'Byrne, POTTER ANDERSON & CORROON LLP,
Wilmington, DE; Jonathan K. Waldrop, Darcy L. Jones, Marcus A. Barber, John W. Downing,
Heather S. Kim, Jack Shaw, KASOWITZ BENSON TORRES LLP, Redwood Shores, CA; Hershy
Stern, KASOWITZ BENSON TORRES LLP, New York, NY, Rodney R. Miller, KASOWITZ BENSON
TORRES LLP, Atlanta, GA- attorneys for Plaintiff


Steven J. Balick, Andrew C. Mayo, ASHBY & GEDDES, Wilmington, DE; Thomas L. Duston, Tron
Y. Fun, MARSHALL, GERSTEIN AND BORUN, LLP, Chicago, IL- attorneys for Defendants




December 10, 2018
Wilmington, Delaware
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 2 of 22 PageID #: 830



/lie
NORE~, U.S. DISTRICT

       Presently before the Court are the objections of Plaintiff Kroy IP Holdings, LLC

("Plaintiff' or "Kroy") (D.I. 41) to Magistrate Judge Fallon's Report and Recommendation

(D.I. 39, "the Report").    The Report recommended denial of Defendant Groupon Inc.'s

("Defendant" or "Groupon") motion to dismiss for failure to state a claim (D.I. 10) on the grounds

that certain claims of U.S. Patent No. 6,061,660 ("the '660 Patent") are invalid as claiming

ineligible subject matter under 35 U.S.C. § 101. The Court has reviewed the Report, Plaintiffs

objections and Defendant's responses thereto, and the Court has considered de nova the relevant

portions of Defendant's motion to dismiss, materials submitted with the motion and the transcript

of the May 22, 2018 hearing before Magistrate Judge Fallon. For the reasons set forth below,

Plaintiffs objections are OVERRULED, the Report is ADOPTED and Defendant's motion to

dismiss is DENIED.

I.     BACKGROUND

       On October 6, 2017, Plaintiff filed the present action, alleging that Defendant's Merchant

Center for Groupon Stores, Merchant Center for Groupon Now! Deals and Deal Builder offerings

infringe claims 1, 10, 16-21, 25 and 27-30 of the '660 Patent ("the Asserted Claims"). (See, e.g.,

D.I. 1 ,r,r 1, 44). On December 14, 2017, Defendant filed the present motion to dismiss (D.1. 10)

for failure to state a claim upon which relief may be granted, arguing that the Asserted Claims of

the '660 Patent are invalid as claiming ineligible subject matter under 35 U.S.C. § 101.

       The '660 Patent, which is titled "System and Method for Incentive Programs and Award

Fulfillment," is generally directed to conducting incentive programs over computer networks and

providing sponsors, retailers and consumers with the ability to fulfill awards received through the




                                                 1
    Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 3 of 22 PageID #: 831




incentive program. ('660 Patent at Abstract; see also id. at 1:20-22, 5:47-54). 1 The '660 Patent

originally contained fifteen claims, each directed to a system or method2 for "incentive program

generation" or "incentive program generation and award fulfillment." (Id. at Claims 1-15). In an

ex parte reexamination, Plaintiff amended several of these claims and added an additional 100

claims. (See id. at Claims 1, 2, 4, 7, 14, 16-115 (reexam certificate)).

        Claims 1 and 10 of the '660 Patent are the only independent claims of the Asserted Claims.

Claim 1, as amended in the ex parte reexamination, recites:

        1. A system for incentive program generation, comprising:
               a network;

               a sponsor computer connected to the network;

               a host computer connected to the network, the host computer having
                   a server;

               an incentive program builder application, running on the server;

                a database of objects associated with parameters of the incentive
                   program builder application; and

               an interface of the incentive program builder application for sponsor
                   entry of parameters for an incentive program,

               wherein the sponsor builds an incentive program by interacting with
                  the incentive program builder application,

               wherein the host computer is configured to receive first input from
                  a plurality of sponsors corresponding to the parameters for
                  creating a plurality of incentive programs associated with the
                  plurality of sponsors via the interface of the incentive program
                  builder application from a plurality of sponsors, receive second
                  input from a consumer selecting an incentive program from
                  among the plurality of incentive programs, issue an award to the
                  consumer corresponding to the selected incentive program,
                  receive a request to validate the award from a sponsor among the


        The '660 Patent is attached as Exhibit 1 to the Complaint (D.I. 1).
2
        In the present case, Plaintiff has only asserted system claims.


                                                  2
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 4 of 22 PageID #: 832




                   plurality of sponsors associated with the selected incentive
                   program, and validate the award,

               wherein the host, the sponsor, and the consumer are different
                  entities, and

               wherein the host and the sponsor are different individuals or
                  corporate entities.

('660 Patent at Claim 1 (reexam certificate)). Claim 10 is directed to a system like claim 1 but

with additional limitations regarding award fulfillment (e.g., "a fulfillment automation application

program" and "an electronic card for fulfillment") and computer code for the incentive builder

application:

       10. A system for incentive program generation and award fulfillment, comprising:
               a host computer connected to a network;

               a client computer of a consumer connected to the network;

               a sponsor computer of a sponsor connected to the network;

               an incentive participation application program for participation by
                   the consumer in an incentive program, wherein the participation
                   may be in incentive programs of a plurality of sponsors;

               a server of the host computer;

               a web site, located on the server of the host computer, wherein the
                  consumer may participate in an incentive program via the web
                  site;

               a database of the host computer of awards associated with the
                  incentive participation application programs;

               an award association application program for associating an award
                   with an incentive program;

               a fulfillment automation application program for associating a
                  fulfillment method with an award;

               an electronic card for fulfillment of an award, having memory for
                  storing information associated with the consumer, wherein the
                  information may be a personal identification number or




                                                 3
  Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 5 of 22 PageID #: 833



                     information associated with the consumer's participation in an
                     incentive program; and

               an incentive builder application program, running on the server of
                   the host computer, wherein the sponsor may build an incentive
                   program by interacting with the incentive builder application
                   program, wherein the incentive builder application program
                   comprises a database of objects associated with incentive
                   programs, wherein each object is associated with a1;1 action that
                   is associated with the incentive program, an interface for
                   permitting a sponsor to enter parameters associated with an
                   incentive program, an object association application for
                   associating objects with the parameters entered by a sponsor and
                   building a file comprising the objects associated with all of the
                   parameters entered by a sponsor, an editor for generating an
                   electronic file containing code for the incentive program, a
                   classifying application program for classifying the code in
                   numbers that represent the elements of the code, a generator
                   application program for generating tables of the numbers that
                   represent the code for the incentive program, and an executor
                   application that is capable of interpreting the tables and
                   executing the code.

(Id. at Claim 10).

       The remaining Asserted Claims were added in the ex parte reexamination and ultimately

depend from claim 1 (through claim 16). Each of these claims requires the incentive program to

be a promotion offered by a sponsor to the consumer and facilitated by the host. (' 660 Patent at

Claim 16). Claims 17-19 add limitations related to the host computer and interface that the sponsor

uses to build the incentive program, and claims 20-21, 25 and 27-28 add limitations related to

parameters that the sponsor inputs into the interface. (See id. at Claims 17-21, 25 and 27-28

(reexam certificate)). Claim 29 adds to claim 16 that a website interface on the host receives

consumer interaction. (See id. at Claim 29 (reexam certificate)). Claim 30 further adds that the

consumer interaction is registration at the host's website. (See id. at Claim 30 (reexam certificate)).




                                                  4
    Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 6 of 22 PageID #: 834




         On October 9, 2018, Magistrate Judge Fallon issued a Report and Recommendation that

recommended denial of Defendant's motion to dismiss. 3 (See D.I. 39). As to step one of the Alice

framework for determining patent-eligible subject matter under§ 101, the Report concluded that

the Asserted Claims are directed to an abstract idea. (See id. at 21-31 ). In particular, the Report

found that the Asserted Claims are directed to the abstract idea of "using generic computer

components to create and implement incentive award programs." (Id. at 22). At step two of the

Alice framework, the Report concluded that issues of fact remain as to whether the claims recite

more than "well-understood, routine and conventional" activities previously known in the industry

such that the claimed abstract idea is transformed into patent-eligible subject matter. (See id. at

31 ). Additionally, the Report noted that claim construction - which has not yet occurred - could

also impact the analysis under step two. (Id.). The Report therefore recommended denial of

Defendant's motion to dismiss so that "additional evidence outside the scope of the pleadings"

could be considered in determining whether the Asserted Claims are directed to ineligible subject

matter under§ 101. (Id.).

         On October 23, 2018, Plaintiff filed objections to the Report only as to its conclusion that

the Asserted Claims are directed to an abstract idea at Alice step one. (See D.I. 41). Plaintiff

asserted three purported errors in the Report's analysis. First, according to Plaintiff, the Report

"found that a patent is required to improve the way a computer operates to be patentable." (Id. at

2; see also id. at 3-5). Second, the Report ignored "significant claim elements" that are not generic

computer components but are instead improvements in computer incentive programs. (Id. at 5-8).



3
         The Report also recommended denial of Defendant's motion to transfer (D .I. 17) and
         Plaintiffs motion for a stay of the transfer decision pending jurisdictional and venue-
         related discovery (D.I. 26). (See D.I. 39 at 14-15). Neither party objected to the Report's
         recommended denial of these motions, and the Court adopted those portions of the Report
         on November 1, 2018. (See D.I. 43).


                                                  5
  Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 7 of 22 PageID #: 835




And third, claim construction and fact discovery are necessary to resolve the issue of whether the

Asserted Claims are directed to an abstract idea under step one of Alice. (Id. at 8-10). Defendant

did not object to the Report but responded to Plaintiffs objections on November 6, 2018. (See

D.I. 44).

II.     LEGALSTANDARDS

        A.      Motion to Dismiss for Failure to State a Claim

        In ruling on a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the Court

must accept all well-pleaded factual allegations in the complaint as true and view them in the light

most favorable to the plaintiff. See Mayer v. Belichick, 605 F.3d 223,229 (3d Cir. 2010); see also

Phillips v. Cnty. ofAllegheny, 515 F.3d 224, 232-33 (3d Cir. 2008). "[A] court need not 'accept

as true allegations that contradict matters properly subject to judicial notice or by exhibit,' such as

the claims and the patent specification." Secured Mail Sols. LLC v. Universal Wilde, Inc., 873

F.3d 905, 913 (Fed. Cir. 2017) (quoting Anderson v. Kimberly-Clark Corp., 570 F. App'x 927,

931 (Fed. Cir. 2014)). Dismissal under Rule 12(b)(6) is only appropriate if a complaint does not

contain "sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its

face."' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell At!. Corp. v. Twombly, 550 U.S.

544,570 (2007)); see also Fowler v. UPMC Shadyside, 578 F.3d 203,210 (3d Cir. 2009). "[P]atent

eligibility can be determined at the Rule 12(b)(6) stage ... when there are no factual allegations

that, taken as true, prevent resolving the eligibility question as a matter of law." Aatrix Software,

Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018).

        B.      Patent-Eligible Subject Matter

        Section 101 of the Patent Act provides that anyone who "invents or discovers any new and

useful process, machine, manufacture, or composition of matter, or any new and useful




                                                    6
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 8 of 22 PageID #: 836




improvement thereof' may obtain a patent. 35 U.S.C. § 101. The Supreme Court has long

recognized three exceptions to the broad categories of subject matter eligible for patenting under

§ 101: laws of nature, physical phenomena, and abstract ideas. Alice Corp. Pty. v. CLS Bank Int 'l,

573 U.S. 208, 134 S. Ct. 2347, 2354 (2014).           These "are 'the basic tools of scientific and

technological work' that lie beyond the domain of patent protection." Ass 'n for Molecular

Pathology v. Myriad Genetics, Inc., 569 U.S. 576,589 (2013) (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 566 U.S. 66, 77-78 (2012)); see also Alice, 134 S. Ct. at 2354. A claim

to any one of these three categories is directed to ineligible subject matter under § 101. "[W]hether

a claim recites patent eligible subject matter is a question of law which may contain underlying

facts." Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).

        Courts follow a two-step "framework for distinguishing patents that claim laws of nature,

natural phenomena, and abstract ideas from those that claim patent-eligible applications of those

concepts." Alice, 134 S. Ct. at 2355; see also Mayo, 566 U.S. at 77-78. First, at step one, the

Court determines whether the claims are directed to one of the three patent-ineligible concepts.

Alice, 134 S. Ct. at 2355. If the claims are not directed to a patent-ineligible concept, "the claims

satisfy § 101 and [the Court] need not proceed to the second step." Core Wireless Licensing

S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356, 1361 (Fed. Cir. 2018). If, however, the Court finds that

the claims at issue are directed a patent-ineligible concept, the Court must then, at step two, search

for an "inventive concept" - i.e., "an element or combination of elements that is 'sufficient to

ensure that the patent in practice amounts to significantly more than a patent upon the [ineligible

concept] itself."' Alice, 134 S. Ct. at 2355 (alteration in original) (quoting Mayo, 566 U.S. at 72-

73).




                                                  7
  Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 9 of 22 PageID #: 837




               1.      Step One of the Alice Framework

       At step one of Alice, "the claims are considered in their entirety to ascertain whether their

character as a whole is directed to excluded subject matter." Internet Patents Corp. v. Active

Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015); see also Affinity Labs of Texas, LLC v.

DIRECTV, LLC, 838 F.3d 1253, 1257 (Fed. Cir. 2016) (step one looks at the "focus of the claimed

advance over the prior art" to determine if the claim's "character as a whole" is to ineligible subject

matter). In performing step one of Alice, the Court should be careful not to oversimplify the claims

or the claimed invention because, at some level, all inventions are based upon or touch on abstract

ideas, natural phenomena, or laws of nature. Alice, 134 S. Ct. at 2354; see also McRO, Inc. v.

Bandai Namco Games Am. Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016). "At step one, therefore, it

is not enough to merely identify a patent-ineligible concept underlying the claim; [courts] must

determine whether that patent-ineligible concept is what the claim is 'directed to."' Rapid Litig.

Mgmt. Ltd. v. CellzDirect, Inc., 827 F.3d 1042, 1050 (Fed. Cir. 2016).

               2.      Step Two of the Alice Framework

       At step two of Alice, in searching for an inventive concept, the Court looks at the claim

elements and their combination to determine if they transform the ineligible concept into

something "significantly more." Alice, 134 S. Ct. at 2355; see also McRO, 837 F.3d at 1312. This

second step is satisfied when the claim elements "involve more than performance of 'well-

understood, routine, [and] conventional activities previously known to the industry."' Berkheimer,

881 F.3d at 1367 (citation and internal quotation marks omitted); see also Mayo, 566 U.S. at 73.

"The inventive concept inquiry requires more than recognizing that each claim element, by itself,

was known in the art.... [A]n inventive concept can be found in the non-conventional and non~

generic arrangement of known, conventional pieces." Bascom Glob. Internet Servs., Inc. v. AT&T




                                                  8
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 10 of 22 PageID #: 838




Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016). Whether claim elements or their combination

are well-understood, routine, or conventional to a person of ordinary skill in the art is a question

of fact. Berkheimer, 881 F.3d at 1368.

       At both steps of the Alice framework, courts often find it useful "to compare the claims at

issue with claims that have been considered in the now considerably large body of decisions

applying§ 101.'' TM! Sols. LLC v. Bath & Body Works Direct, Inc., C.A. No. 17-965-LPS-CJB,

2018 WL 4660370, at *5 (D. Del. Sept. 28, 2018) (citing Amdocs (Israel) Ltd. v. Openet Telecom,

Inc., 841 F.3d 1288, 1294 (Fed. Cir. 2016)); see also Enfish, LLC v. Microsoft Corp., 822 F.3d

1327, 1334 (Fed. Cir. 2016).

III.   DISCUSSION

       A.      Step One of the Alice Framework

       Defendant argues that the Asserted Claims of the '660 Patent are directed to ineligible

subject matter under§ 101. As to step one of Alice, Defendant argues that the Asserted Claims4

are directed to the abstract idea of"creating and implementing incentive programs through the use

of general purpose computers and networks, such as the Internet" or, more generally, "providing

an incentive award program to consumers." (D.I. 11 at 10).           Citing the '660 Patent itself,

Defendant notes that incentive award programs have been around for many years to encourage

consumers to purchase products or services. (Id.; see also '660 Patent at 1:27-30 ("Incentive award

programs, in which incentive companies contract with sponsoring companies for programs to

promote sales of the sponsoring companies' products or services, are well-known.")). Those

incentive programs, according to Defendant, have been conducted by humans for a long time



4
       Despite characterizing claim 1 as "representative" (D.I. 11 at 4, 10), Defendant addresses
       each of the Asserted Claims in its § 101 analysis (see, e.g., id. at 15-16). The Court will
       also address each of the Asserted Claims separately.


                                                 9
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 11 of 22 PageID #: 839




without the use of computers - e.g., distributing promotional coupons through circulars for

redemption at the relevant retailer. (D.I. 11 at 9-10). That the claimed incentive award program

is implemented on computers and a network does not change the abstractness of the invention in

Defendant's view.     The Asserted Claims are not directed to any improvement in computer

technology previously used to run incentive programs - rather, generic computers are merely used

as a tool to implement the abstract idea of providing an incentive program. (Id. at 11 ).

       Plaintiff argues that the Asserted Claims are not directed to an abstract idea, but to an

improvement in computer functionality - i.e., "an incentive program builder application running

on a central server that allows multiple retailers to generate incentive programs based on retailer-

selected parameters reflecting a database of source code objects that validates retailer-created

promotions in real-time." (D.I. 14 at 7-8). Plaintiff claims that the invention solves "specific

technical problems in the prior art," which purportedly lacked the ability to provide automatic

generation of incentive programs through a sponsor's entry of parameters. (Id. at 8; see also '660

Patent at 5 :33-36). According to Plaintiff, the prior systems limited consumer participation to

programs offered by an individual retailer on the retailer's own server and programs with

"individualized software" for the incentive program developed by the retailer. (D.I. 14 at 8).

Coupon verification in the prior art was also problematic in that a check-out clerk tasked with

verifying redemption conditions would face difficulty when the customer presented numerous

coupons. (Id. at 8-9). Plaintiff contends that the '660 Patent invention solves these problems and

"improves the efficiency and operation" of incentive award systems in the prior art. (Id. at 8).

Specifically, Plaintiff argues that its claims incorporate "novel data structures" that create a "new,

customized incentive program," which allows retailers to select parameters for award validation.

(Id. at 9). Plaintiff further argues that the claimed system "reduces memory and processing




                                                 10
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 12 of 22 PageID #: 840




requirements as a result of placing the incentive program builder application on a centrally-located

server." (Id).

       In the present case, the relevant inquiry at step one of Alice is whether the claims are

directed to an improvement in computing devices or other technology, as Plaintiff asserts, or

whether they are simply to "a process that qualifies as an 'abstract idea' for which computers are

invoked merely as a tool," as Defendant contends. Erifish, 822 F.3d at 1336; see also Two-Way

Media Ltd v. Comcast Cable Commc'ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017) ("We look

to whetherthe claims in the patent focus on a specific means or method, or are instead directed to

a result or effect that itself is the abstract idea and merely invokes generic processes and

machinery."). The Federal Circuit has "repeatedly held that inventions which are directed to

improvements in the functioning and operation of the computer are patent eligible." Aatrix

Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1127 (Fed. Cir. 2018); see also Core

Wireless, 880 F.3d at 1361-62 (collecting cases).

       As noted above, it is helpful to compare the claims at issue to claims previously found to

be directed to an abstract idea in other cases. See, e.g., Enfish, 822 F.3d at 1334 (noting the lack

of"definitive rule" for determining whether something is an abstract idea and explaining that both

the Supreme Court and Federal Circuit "have found it sufficient to compare claims at issue to those

claims already found to be directed to an abstract idea in previous cases"). 5 Here, Plaintiff relies

on Enfish to argue that the Asserted Claims are directed to an improvement in computer



5
       The Court appreciates that step one ofAlice can be difficult when abstract ideas are at issue.
       See, e.g., Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1259 (Fed. Cir. 2017)
       ("With these guideposts in mind, and cognizant of the difficulty inherent in delineating the
       contours of an abstract idea, we tum to the claims at issue here."); Epic IP LLC v.
       Backblaze, Inc., C.A. No. 18-141-WCB, 2018 WL 6201582, at *2 (D. Del. Nov. 26, 2018)
       (Bryson, J., sitting by designation) ("Defining an 'abstract idea,' as that term is used in
       section 101 jurisprudence, has not proved to be a simple task.").


                                                 11
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 13 of 22 PageID #: 841




functionality for incentive award systems. (D.I. 14 at 9). In Enfish, the claims at issue were

directed to a method or system of data storage and retrieval for computer memory, where each

claim required a self-referential table for storing tabular data. Enfish, 822 F.3d at 1336-37. The

claims were limited by the self-referential table element and the patents made clear that the

invention improved the way prior computer systems stored data. Id. at 1337. As the Federal

Circuit noted, the specification taught how the claimed self-referential table functioned differently

from conventional databases, and how the invention afforded specific benefits over existing data

storage and retrieval, such as "increased flexibility, faster search times, and smaller memory

requirements." Id. Thus, the Enfish claims were not directed to an abstract idea, but rather to "a

specific type of data structure designed to improve the way a computer stores and retrieves data in

memory." Id. at 1339; see also id. at 1336 ("[T]he plain focus of the claims is on an improvement

to computer functionality itself, not on economic or other tasks for which a computer is used in its

ordinary capacity.").

       The Asserted Claims here are unlike those found eligible in Enfish. In looking at the

"claimed advance over the prior art," the Court finds that the "character as a whole" of the Asserted

Claims is to the provision of an incentive award system to consumers using computer technology.

See Affinity Labs, 838 F.3d at 1257. Claim 1 of the '660 Patent is to a "system for incentive

program generation" that requires a network, server, computers connected to the network, an

interface and database of objects, an incentive program builder application and certain

requirements regarding the host computer (e.g., configured to receive sponsor input, consumer

selection, award validation and issuance). ('660 Patent at Claim 1 (reexam certificate)). Similarly,

claim 10 is to a "system for incentive program generation and award fulfillment" that requires a

network, server, computers connected to the network, database, and incentive program builder




                                                 12
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 14 of 22 PageID #: 842




application. (Id. at Claim 10). The focus of both claims is on a sponsor's creation of an incentive

award system for participation by consumers. Neither claim requires the incentive program to be

implemented on any particular or specialized network, server, computer, interface or database.

Nor do these claims recite an improvement in the operation of these technologies-rather, they are

generic computer components used to run the incentive program. (See, e.g., id. at 5:39-40, 5:47-

50). The "incentive program builder application" in claim 1 also appears to be generic computer

functionality 6 that merely allows input from sponsors and consumers, and the additional limitations

to the "incentive builder application program" in claim 10 use computer components

(e.g., database, interface, editor, code) in their ordinary capacity to provide the incentive program

to consumers. The remaining limitations in both claims are either generic computer components

or functional limitations intended to claim a result (e.g., award validation and issuance, application

programs for award association and fulfillment). 7 Thus, the plain focus of claims 1 and 10 is

providing an incentive award system using generic computer technology.

       The '660 Patent's discussion of the problems in the prior art and its description of the

purported invention further underscore this characterization.       The specification explains that

incentive programs generally were well known in the prior aii:

               Incentive award programs, in which incentive companies contract
               with sponsoring companies for programs to promote sales of the
               sponsoring companies' products or services, are well-known.
               Incentive programs include discount coupon programs; customer

6
       The specification states that the incentive program "include[s] any program for creating
       incentives" (id. at 7:41-42 (emphasis added)) and, further, "the incentive programs that are
       build [sic] by the host system may be of any type, ranging from computer games such as
       TETRIS and pinball, to question and answer or trivia games, to surveys, to scratchand-win
       [sic], treasure hunt, sweepstakes, customer loyalty programs and other typical incentive
       programs" (id. at 30:58-63 (emphases added)).
7
       This conclusion also applies to the "electronic card" recited in claim 10, which is merely a
       generic limitation that covers anything that can achieve electronic payment. (See '660
       Patent at 13:36-37 (electronic card may be "any type of electronic payment card")).


                                                 13
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 15 of 22 PageID #: 843




               loyalty programs, such as frequ~nt flyer programs, and promotional
               games, such as sweepstakes prizes, scratch-and-win games, and the
               like, in which a sponsoring company's products or services are won
               by successful participation in the incentive program.

('660 Patent at 1:27-35). Those systems suffered from various drawbacks such as difficulty in

modifying the incentive program and tracking participation data, as well as undesired costs in

administering the program to consumers. (See id at 1:46-2:5). The specification also describes

some of the computer-based incentive award programs available in the prior art, including ones

administered over the Internet. (See, e.g., id at 2:63-3:14, 3:21-38, 4:17-20, 4:33-54). Those

systems suffered from their own problems - e.g., not allowing sponsors to generate incentive

programs, not allowing consumers to track participation in multiple incentive programs, not

providing for automated and convenient award fulfillment. (See, e.g., id at 3:16-20, 3:38-42, 4:20-

32). Notably, the specification explains that these prior systems were problematic because "they

require specific computer software or computer hardware to be purchased in order to participate

in the incentive program .... [A]nd no convenient mechanism existed to convey the information

that the customer had won a prize to the party who was required to fulfill the prize." (Id at 5:2-

10). In describing the need existing in the prior art - as well as the nature of the claimed invention

-the specification provides:

               Accordingly, a need has arisen for an incentive program and award
               fulfillment system that provides easy access to consumers who have
               standard computer hardware and software, that permits sponsors to
               build or purchase incentive programs easily and efficiently, and that
               provides for convenient tracking of participation and convenient,
               automated award fulfillment. ...

               The present invention provides a new incentive program and award
               system for using a computer network, preferably the Internet, to
               provide consumer access to expanded incentive programs using a
               conventional computer, to permit sponsors to build, buy, store,
               modify, offer, track and administer incentive programs and to permit
               sponsors and retailers to offer improved award fulfillment for
               participants in incentive programs.


                                                 14
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 16 of 22 PageID #: 844




(Id at 5:37-54). Although some problems with prior computer-based incentive award systems are

detailed, the claimed advance is not described as any specific improvement to the technology used

to implement those prior systems. There is no discussion, as in Enfish, of how the invention

improves the functioning of any technology. Instead, the claimed invention is touted as a more

fulsome and convenient incentive award program that is simply provided by computers.

       Contrary to Plaintiffs suggestion, the claims are not directed to an improvement in

technology used to administer incentive award systems, but rather to the more general concept of

providing an incentive award system (using computers). Providing an incentive award system is

simply a method of organizing human activity - a concept regularly found abstract at Alice step

one. See, e.g., BSG Tech, 899 F.3d at 1286 (system and method claims to indexing and retrieving

data posted to a network were directed to abstract idea because focus of claims was presenting

information to users before data input, a method of organizing human activity); Bascom Glob.

Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1348 (Fed. Cir. 2016) (system claims

directed to filtering content on the internet were directed to an abstract idea because "filtering

content is ... a longstanding, well-known method of organizing human behavior"); Intellectual

Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1367 (Fed. Cir. 2015) (claims directed

to tracking and storing financial transactions in database and communicating with user when pre-

set spending limit reached were directed to an abstract idea because they were "not meaningfully

different" from others involving methods of organizing human activity found ineligible).

       Here, it is noteworthy that the '660 Patent states that incentive programs - i.e., the focus

of the claimed invention - are about modifying human behavior:

              Incentive programs offer awards and incentives to modify
              behavior of individual consumers and to direct the consumers to
              some pre-determined action, such as purchase of products or
              services upon visiting a retail site, viewing advertising, testing a



                                                15
    Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 17 of 22 PageID #: 845



               product, or the like. Companies use awards and incentives to
               increase awareness of product offerings, to launch new products, to
               attract the attention of newly identified audience, to differentiate
               products to encourage certain behavior, to obtain information, and
               for other purposes.

'660 Patent at 1:36-45 (emphases added). 8 That the claimed incentive program is to be performed

on computers and networks does not save the claims from abstraction. See, e.g., BSG Tech,

899 F.3d at 1285 ("If a claimed invention only performs an abstract idea on a generic computer,

the invention is directed to an abstract idea at step one."); Enfish, 822 F.3d at 1335 ("[F]undamental

economic and conventional business practices are often found to be abstract ideas, even if

performed on a computer."). As noted above, the computer-related limitations of claims 1 and 10

are generic computer components used in their ordinary capacity to provide an incentive award

system to consumers. This is not a situation where the claimed invention "is necessarily rooted in

computer technology in order to overcome a problem specifically arising in the realm of computer

networks." DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014).

Instead, these claims are not meaningfully different than others found directed to abstract ideas

implemented on generic computer technology at Alice step one. See, e.g., Move, Inc. v. Real Estate

All. Ltd, 721 F. App'x 950,955 (Fed. Cir. 2018) (finding computer-based claims to collecting and

organizing real estate information on a digital map were directed to abstract idea where the claims

did not focus on technological details or improvements, thereby amounting to nothing "more than



8
        It is also possible to characterize the invention as "a fundamental economic practice," as
        the '660 Patent itself explains that the use of incentive programs is well known to
        encourage consumers to purchase certain goods and services. (See '660 Patent at 1:37-45).
        Whether described as a method of organizing human activity, or as a fundamental
        economic practice, the Court's conclusion is unchanged - the claims are directed to an
        abstract idea. See BSG Tech, 899 F.3d at 1286 ("Whether labeled as a fundamental, long-
        prevalent practice [of commerce] or a well-established method of organizing activity,
        [having users consider previous item descriptions before they describe items] qualifies as
        an abstract idea.").


                                                 16
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 18 of 22 PageID #: 846




the use of a computer for a conventional business purpose"); Inventor Holdings, LLC v. Bed Bath

& Beyond, Inc., 876 F.3d 1372, 1378 (Fed. Cir. 2017) (finding computer-based claims directed to

locally processing payment for transactions involving remote sellers as abstract because they were

"the type of fundamental business practice that, when implemented using generic computer

technology, is not patent-eligible under Alice").

       The dependent claims fare no better. Each of the dependent Asserted Claims ultimately

depends from claim 1, and adds limitations related to the nature of the incentive program (claim

16), the host computer and interface used to build the incentive program (claims 17-19), the

parameters the sponsor inputs into the interface (claims 20-21, 25, 27-28), and the type of interface

that receives certain consumer interaction (claims 29, 30). (See '660 Patent at Claims 17-21, 25,

2 7-3 0 (reexam certificate)). These additional limitations are either aimed at further organizing

human activity or basic functions of generic computers being used in their ordinary capacity - i.e.,

they do not add anything to the claims that makes their character as a whole any less abstract.

Thus, the Court concludes that all of the Asserted Claims of the '660 Patent are directed to the

abstract idea of providing an incentive award system over a computer network.

       B.      Plaintiffs Objections to the Report's Conclusion at Step One of Alice

       For the reasons set forth above, the Court finds no enor in the Report's conclusion that the

Asserted Claims are directed to an abstract idea at Alice step one. Plaintiffs objections are based

on three purported errors committed by the Report, and the Court addresses these in tum.

       First, contrary to Plaintiffs assertion, the Report does not require a claim to improve the

way a computer operates to be found non-abstract at step one. (See D.I. 41 at 2-5; see also id at

2 ("The Report Erred by Nanowing Alice Step One Only to Improvements in the Functioning of

a Computer")). Instead, the Report reviewed prior cases involving claims directed to computer-




                                                    17
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 19 of 22 PageID #: 847



and technology-based systems (and improvements thereto) and compared those with the Asserted

Claims to find that, here, the claims are directed to an abstract idea merely implemented on generic

computer components. (See D.I. 39 at 27-31). Moreover, it is noteworthy that Plaintiff is the one

that argued that the purported invention "is a patent-eligible improvement to computer

functionality." (D.I. 14 at 8 (emphasis added)). With this assertion, Plaintiff also signaled that

the relevant inquiry here is whether the Asserted Claims are to an improvement in computer

functionality, or whether they are to an abstract idea simply run on that technology. That is the

same articulation of the step one inquiry as in Enfish, which Plaintiff urges is analogous to this

case. See Enfish, 822 F.3d at 1335-36 ("[T]he first step in the Alice inquiry in this case asks

whether the focus of the claims is on the specific asserted improvement in computer capabilities

(i.e., the self-referential table for a computer database) or, instead, on a process that qualifies as an

'abstract idea' for which computers are invoked merely as a tool." (emphasis added)); see also

D.I. 14 at 9 (arguing that the Asserted Claims "go well beyond the claims in Enfish"). The Court

sees no error in this analysis undertaken in the Report.

        Second, as to Plaintiffs argument that the Report erred in ignoring "significant claim

elements" in reaching the conclusion that the claims are directed to the abstract idea of an incentive

award system being run on generic computers (D.I. 41 at 5-8), the Court disagrees.                   An

examination of each of the claim elements - and their ordered combination - is a process

undertaken at step two of Alice. At step one, the Court must look at the claims "in their entirety"

and determine the "character as a whole" of the Asserted Claims. Internet Patents, 790 F.3d at

1346. Indeed, the Federal Circuit has recognized that, when a patentee points to specific claim

elements in attempting to articulate a non-abstract idea at step one, consideration of any

"narrowing effect" of those claim limitations may be deferred to Alice step two. See Bascom, 827




                                                   18
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 20 of 22 PageID #: 848



F.3d at 1349 ("Here ... the claims and their specific limitations do not readily lend themselves to

a step-one finding that they are directed to a nonabstract idea. We therefore defer our consideration

of the specific claim limitations' narrowing effect for step two."). The Report properly evaluated

the Asserted Claims in their entirety to determine that, as a whole, they are directed to providing

an incentive award program using generic computer components - an abstract idea at step one.

       Finally, Plaintiff argues that fact discovery and claim construction are necessary before a

conclusion can be reached at Alice step one. (D.I. 41 at 8-10). There is no requirement, however,

that a Court construe claims prior to rendering any § 101 decision, even on a motion to dismiss.

See Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Assn, 776 F.3d 1343, 1349

(Fed. Cir. 2014) ("[C]laim construction is not an inviolable prerequisite to a validity determination

under§ 101."); see also Cleveland Clinic Found. v. True Health Diagnostics LLC, 859 F.3d 1352,

1360 (Fed. Cir. 2017) ("[W]e have repeatedly affirmed§ 101 rejections at the motion to dismiss

stage, before claim construction or significant discovery has commenced."). And as to Plaintiffs

suggestion that fact discovery is necessary to determine if the claims are directed to an abstract

idea, the Court does not understand recent precedent to stand for the proposition that factual issues

may preclude a finding at Alice step one. See Aatrix Software, Inc. v. Green Shades Software, Inc.,

890 F.3d 1354, 1359 (Fed. Cir. 2018) ("Our decisions in Berkheimer andAatrix are narrow: to the

extent it is at issue in the case, whether a claim element or combination is well-understood, routine,

and conventional is a question of fact.        This inquiry falls under step two in the § 101

framework .... "). In any event, here, the patent and claims make clear that the purported invention

is an incentive program (i.e., a way "to modify behavior of individual consumers") implemented

on standard (i.e., generic) computer components. That is plainly an abstract idea at step one.




                                                 19
 Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 21 of 22 PageID #: 849




       C.      Step Two of the Alice Framework

       Despite finding the claims directed to the abstract idea of creating and providing an

incentive program (using generic computer components), the Report recommended denial of

Defendant's motion to dismiss because there appeared to be unresolved factual issues as related to

step two of Alice - i.e., whether the claim elements or their combination recite more than "well-

understood, routine and conventional" activities previously known in the industry. (See D.I. 39 at

31 ). The Court notes that the '660 Patent itself contains numerous statements that the computer

components used to implement the claimed incentive award system are "conventional" and

"standard." (See, e.g., '660 Patent at 5:37-43 (need for incentive award system on "standard

computer hardware and software"); id. at 5:47-53 (claimed invention provides incentive award

system using a computer network, preferably the Internet, and a "conventional" computer); id. at

5:58-61 (Internet provides access to award fulfillment to consumers with "standard equipment

such as a personal computer, without requiring specific hardware or software"); id. at 10:55-56

(client computer may be comprised of various "standard components"); id. at 11: 15-19 (operating

system may be "any standard operating system"); id. at 12:7-11 (host computer may be "any

conventional server"); id. at 19:5-9 (implementation of incentive program includes "conventional

incentive program games"); id. at 20:1-5 (award database may be searched with "conventional

search algorithms"); id. at 22:44-48 (electronic gift card "may be any conventional electronic

payment card"); id. at 36:40-42 ("In an embodiment of the invention the files for an incentive

program are stored as conventional graphics and computer code files."). That being said, as neither

party has objected to the Report as it relates to Alice step two and finding no clear error in the step

two analysis, the Court adopts that portion of the Report as well.




                                                  20
Case 1:17-cv-01405-MN Document 58 Filed 12/10/18 Page 22 of 22 PageID #: 850




IV.    CONCLUSION

       For the foregoing reasons, the Court OVERRULES Plaintiffs objections (D.I. 41) and

ADOPTS the Report and Recommendation (D .I. 39) as it relates to Defendant's motion to dismiss

(D.I. 10). Defendant's motion to dismiss (D.I. 10) is DENIED. An appropriate order will follow.




                                              21
